      Case: 1:17-cv-04235 Document #: 1 Filed: 06/05/17 Page 1 of 9 PageID #:1                                                            fr
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                               TJNITED STATES DISTRICT COT]RT
                                                                                                      B,EGEIVED
                           FOR Tr{r'. NORTHERN DTSTRTCT OF TLLTNOTS JUN                                                     -5     201?
                                        EASTERN DTWSION

                                                                                                          c'ERr[?,SBfuBSBT?tu*'
     Vernita HalsellPowell                                  )
                                                            )
                                                            )
                                                            )
                                                            )          CTVIL ACTION
(Name of the plaintiffor plaintitr$                         )
                                                            )
                   v.                                       )          N 1:1T<lt-04235
                                                            )
 Ofiice of the Chief Judge of the Circuit Court )                        Judge Manish S. Shah
                                                             )          Magisfiate Judge Mary M. Rowtand
of Cook County, Timothy Evans,             Marilyn           )
                                                             )
Filishio & Jeanine LaMantia-Potter                     _    )
(Name ofthe defendant or defendmts)


                        COMPLAINT OF EMPLOYMENT DISCRIMINATION

1.   This is an action for employment discrimination.

2.   The   plaintiffis Vemita HalsellPowell                                                                                   of the

county     of                                                        in the state   of         lllinois

3.   The defendant       is      Office of the Chief Judge of the Circuil Court, Marilyn Filisho, et                   al   , whose

street address    is      50 West Washington, Richard J. Daley Center, Room 2600, 69 W. Was\ington, gth FI.

(city)      Chicago           (county)-      t99!                  (state)_!!tn9E                  (zP)__          !0692

(Defendant's telephone          number) (_q, -                    603600o; (312) 60$850s


4. The plaintiff sougfnt employment               or was employed by the defendant at (street address)

                 2650 South Califomia                                               (citv)___elqegg

     (county)             Cook (state)            IL             (ZIP code)         60608




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5.    The plaintifflcheck one               boi
      (a)   n            was denied employment by the defendant.


      o)    tr           was hired and is still employed by the defendant.

      (c)   n            was employed but is no longer employed bythe defendant.


      The defendant discriminated against the                    plaintiffon or about, or beginning on or about,
      (month)teotemuer,(day)__l__19_,Oear)__:911_.


7.I      (Choase         paragraph 7.7 or 7.2, do not omplete both.)
                        (a) The defendant          is not a federal governmental agency, and the                  plaintiff       lcheck

                              one boxf        Zr^60^                       filed a charge or charges against the defendant

asserting the acts of discrimination indicated in this complaint with any of the following
govemment agencies:

            (i)          EI *"      United States Equal Employment Opportunity Commission, on or about

                         (month)_le!*e'y__ (day)___eg_ (year)___?qz_

            (ii) ff,           ,fr" llinois Deparhrent of Human Rights, on or about

                         (mon&)          March             (dav)----?!- (vear)-*3912--
      (b) If charges        were filed with an agency indicated above, a copy of the charge is


attached.           El *t.              n     *O, but plaintiffwill lile a copy of the charge within                        14 days.


It is the policyofboth theEqual Employment OpportunityCommission and the Illinois
Department of Human Rights to cross-file with the other agency all charges received. The
plaintiffhas no reason to believe that this policy was not followed in this                               case.



7.2          The defendant is a federal governmental agency, and

            (a) the plaintiffpreviously filed a Complaint of Employment Discrimination with the

            defendant asserting the acts of discrimination indicated in this court complaint.



                                                                       2


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                     n           Yes (month)                                   (dav)-              (veu)

                     n           No, did not file Complaint of Employment Discrimination

      (b)      The plaintiffreceived a Final Agency Decision on (month)
               (da,                     (vear)

      (c)      Attached is a copy of the

               (i)     -
                     Complaint of Emplo5mrent Discrimination,

                     f] *t              n *o, but a copy will be frled within 14 days.

                (ii) Final Agency Decision


                     fl *u               fl    *o,    but a copy will be filed within 14 days.



8.    (Complete paragraph           I only ddefendant          is not afederal governmental agency.)


       (")n          the United States Equal Employment OpportunityCommission has not issued


                     a   Notice of Right to Sue.


       o)E           the United States Equal Employment OpportunityCommission has issued a


                     Notice of Right to Sue, which was received by the plaintiff on
                      (month)___Ue'"t          _        (day)__:_q_           (year)_____2q1z_ a copy of which

                     Notice is attached to this complaint.


9.     The defendant discriminated against the plaintiffbecause ofthe                          plaintiffs lcheck only
       those that applyf:


       (u)fl      Age (Age Discrimination Employment Act).

       (b)[       Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C.                         $   19Sl).



                                                              3


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        (.)E      Disability (Americans with Dsabilities Act or Rehabilitation Act)

        (Ofl      National Origiil (Title VII of the Civil Rights Act                 of   1964 and42 U.S.C. $1981).

        (")EI     Race (Title     VIIof    the Civil Rights Act        of   1964 and42 U.S.C. $1981).

        (flfl     Refigion (Title      vllofthe Civil       Rights Act      of   rgil)
        (g)fl     Sex (Tifle    VII ofthe Civil Rights Act of             1964)


10.     If the defendant is a state, county, municipal (city, town or village) or other local
        governmental agency, plaintiff further alleges discrimination on the basis of race, color,

        or national origin (42 U.S.C. $ 1983).

11.     Jurisdiction over the statutory violation alleged is conferred as follows: for Title Vtr
        claims by 28 U.S.C.$1331, 28 U.S.C.$13a3(a)(3), and 42 U.S.C.$2000e-5(0(3); for

        42 U.S.C.$1981 and $1983 by 42 U.S.C.$1988; for the A.D.E.A.by 42 U.S.C.$12117;

        for the Rehabilitation Act, 29 U.S.C. $ 791.


t2.     The defendant lcheek only those that applyl


        (")n          failed to hire the plaintiff.

        (b)fl         terminated the       plaintiff s employment.

        (")fl         failed to promote the plaintiff.

        (on           failed to reasonably accommodate the plaintiffs religion.

        (")fl         failed to reasonably accommodate the plaintiff s disabilities.

        (DfI          failed to stop harassment;

        relD           retaliated against the plaintiff bmause the plaintiffdid something to assert
                       rights protected by the laws identified in paragraphs 9 and l0 above;

        &)f,]         other (specify):        Singled me out as an African American by conducting a campaign of racial harassment




                                                              4


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      Case: 1:17-cv-04235 Document #: 1 Filed: 06/05/17 Page 5 of 9 PageID #:5

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          by encouraging and lending credence to false statements of an employee, Regina Clemmer, which led to my permanent


          transfer frorrn the division, which in tum led to a substantial loss in income and my ability to earn future income.


         Accepted as true false statements claiming I engaged in making racial statements. Accepted as true that


              I   tried to influence the outcome of a union steward election.


13.      The facts supporting the                plaintiffs claim of discrimination              are as follows:

          lwas transferred pending an investigation with no notice of what lwas being accused of.


          I   was not told I sould bring witnesses to the predisciplinary hearing; but when the decision was made, I was


         told I did not brinq forth witnesses.


          I have never been disciplined before, but when I categorically denied what I was accused of, I was not believed.


                  The woman, Regina Clemmer, who made the daims has been having disputes with numerous people in the


          office, but no one had been removed from the office before this incident. Regina Clemmer, after I was removed
          has been harassing an employee at the work location and nothing has been done, even though managernent is fully aware of it
          The employee has sought an order of protection against Regina Clemmer since management has not a€fed.

t4.      IAGE DISCRIMINATION ONL                                I   Defendant knowingly, intentionally, and                 willfully
         discriminated against the plaintiff.

15       The plaintiff demands that the case be tried by                        a   jury.   fl VfS n *O
t6        TIIEREFORE, the plaintiffasks that the court grant the followingrelief to the plaintiff
       lcheck onb those that apply)


      (")fl              Direct the defendant to hire the plaintiff.

      &)fI               Direct the defendant to re-employthe plaintiff.

      (")fl              Direct the defendaot to promote the plaintiff.

      (d)fl              Direct the defendant to reasonably accommodate the plaintiff s religion.

      (")n               Direct the defendant to reasonably accourmodate the plaintiff s disabilities.

      (0E                 Direct the defendant to (speciS):                 retum plaintiffto herwork location,


      direct defundant to cease and desist any and all discrimination, harassment andlor retailation against


                                                                        5


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      Case: 1:17-cv-04235 Document #: 1 Filed: 06/05/17 Page 6 of 9 PageID #:6
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                                                                                           and reference lhat section.l




       plaintiff. Direct defendant to remove Regina Clemmer from the work location as a result of her
                                                                                                      actions.




    G)EI            If availablg grantthe plaintiffappropriate injunctive relief, lost wages,
                    liquidated/double damages, &ontpay, compensatorydamages, punitive damages,
                    prejudgment interes! post-judgment interest, and costs, including reasonable
                    attorney fees and expert witnss fees.

    G)EI            Grant such other relief as the Court may find appropriate.




    (Plaintiffs name)

    Vemita Halsell Powell


   (Plaintiff s sheet address)

      8325 South Peoria Street




(CiA)              cniog"              (State)_!!_(Zp)                       60620


(Plaintiffs telephone number)            LJl3 -                    852$s20



                                                                                     \
                                                                             Date:    } n ( { 7)/ 2



                                                               6


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 I   Complaint of Employment Discrimination     -   Additional Information

 2
     13. Plaintiffwas never informed by management before being removed from her work location
 J   that Regina Clemmer was accusing plaintiffof racial harassment.

 4   Plaintiff was never given the opportunity to correct alleged behavior before being removed from
     the location.
 5


 6
     Plaintiff was never informed who the said co-workers were who were accusing her of said
     behavior.
 7

     Defendant alleged plaintiffcommitted acts (not trading schedules with white employees) which
 8
     is not a job requirement.
 9
     Defendant has not penalized any other employee for not trading schedules in the past.
l0
     Defendant accused plaintiff of trying to influence the outcome of a union steward election.
ll   While defendant accused plaintiff of telling another black employee to drop out of the race,
     plaintiff contends that even if said employee dropped out of the race, the racial make-up of the
t2
     office would still have necessitated white employees voting for a black candidate for that
l3   candidate to win.

t4   Plaintiff contends the racial make-up of the office at the time plaintiff was employed there was
     majority white,43 total employees, 14 African American,29 White.
l5

r6   Plaintiff contends immediately after her'temporary" removal from her work location, defendant
     posted for open position. Plaintiffcontends defendant wished her and other African American
l7   co-workers out of the office to replace her with white employees.

l8
     Plaintiffcontends Defendant did exactly that and that every position filled in that work location
t9   has been filled by white employees.

20   Plaintiff contends that Defendant used the false statements of a co-worker as a pre-text to
     African American employees from the work location to replace them with white employees.
2t

22   Plaintiff contends the work location consists of approximately 10 African American employees
     and 33 white employees.
23

     Defendant accused plaintiff and her African American friends at work as being in a "pack" as if
24
     we were animals.
25
     Defendant never accused the white employees who had a specific goup of friends as being a
                Case: 1:17-cv-04235 Document #: 1 Filed: 06/05/17 Page 8 of 9 PageID #:8




 I   otpack".


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                           Case: 1:17-cv-04235 Document #: 1 Filed: 06/05/17 Page 9 of 9 PageID #:9

  EEOC Fcrm 16,l (11/16)                    U.S. Eouel EruptoyrtaeNT OppoRTUNtry CoMmtsstoN

                                                    Drsmrssal AND Nonce oF RtcHTS
  'l'o: VernitaHalsell-Powell                                                               From: Ghicago District Office
         &325 South Peoria                                                                        500 West Madison St
         Shicago, lL 60620                                                                        Suite 2000
                                                                                                  Chicago,lL 6066{


      i:                       On behalf of person(s) aggieved whose identity is




                                                  Robert Shelton,
  *.4*-SC17-02318                                 lnvestigator                                                          (312) 869-8078
  ftqH ISEOC IS GLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
     fl            The facts alleged in ihe charge fail to state a claim under any of the statutes enforced by the EEOC


     ill           Your allegations did not involve a disability as defined by the Americans With Disabiliiies Act.


     fl           The Respondent emptoys less than the required number of employees or is not olherwise covered by the stalutes.


     il           Y_our    charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                  discrimination to fle your charge
     iT-I
     t-"-:J       The EEOC issues the following determination: Based upon its investigation, the EEOC is unable lo conclude that the
                  information obtained establishes violations of the statutes. This does not certiff that the respondent is in compliance with
                  the statutes. No finding is made as to any other issues that might be construed is harring be6n raised by this cnarge.

     :l           The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


     il           Ather (bdefly state)




                                                    (See   fie   additional infomation aftached to this form.)

Ti{{* l-r}i,the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, orthe Age
Bls*rlrvrination in Employment Act This will be the only notice of dismissal and of your right to sue that wJwill send you.
Yci: *l*y file a lawsuit ?ggilt!-t the respondent(s) under federal law based on this chaige in iederal or state court. your
lav''suit rnust be filed
                          EITHIN g0 DAYS of your receipt of this notice; or your right [o sue based on this charge will be
lost. {i"he time limit for filing suit based on a claim under state law may be different.)

EquaE Fay Act (EPA): EPA suits must be fiied in federal or staie couit within 2 years (3 years for willful vioiations) of the
all*ged EPA underpayment. This means that backpay due for any violations that oicirrred more than 2 vear6 (3 vears)
before you file suit may not be collectible.

                                                                        On behalf of ihe Commission


Enclosures(s)
                                                                      Julianne Bowman,
                                                                       District Director
cc:        Chief Executive Offieer
           STATE OF ILLINOIS
           Official Court Reporter's Office
           2650 South California
           Chicago, lL 60608
